     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 1 of 24




Case 2:20-cr-00134-RMP   ECF No. 61-3   filed 09/21/21   PageID.219 Page 1 of 9




                          Exhibit C


                    Declaration of
     Professor Lytle Hernández




                                EXHIBIT A
   Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 2 of 24

Case 2:20-cr-00134-RMP           ECF No. 61-3         filed 09/21/21     PageID.220 Page 2 of 9




                           Declaration of Professor Kelly Lytle Hernandez
                                 on the History of USC 1325/1326



          I have been asked to make this declaration to explain my understanding of the history of
  USC 1326 and USC 1326. I am a professor of History, African American Studies, and Urban
  Planning at UCLA where I hold The Thomas E. Lifka Endowed Chair in History. One of the
  nation’s leading experts on race, immigration, and mass incarceration, I am the author of the
  award-winning books, ​Migra! A History of the U.S. Border Patrol ​ (University of California
  Press, 2010), and ​City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los
  Angeles ​ (University of North Carolina Press, 2017). ​City of Inmates recently won the 2018 James
  Rawley Prize from the Organization of American Historians, 2018 Athearn Prize from the
  Western Historical Association, the 2018 John Hope Franklin Book Prize from the American
  Studies Association, and the 2018 American Book Award. Both books, ​Migra! ​ And ​City
  of Inmates​ , address the history of criminalizing undocumented immigration to the United States.
  In 2019, I was named a ​MacArthur “Genius” Fellow​ for my historical and contemporary work.

          In 1929, the U.S. Congress first criminalized the act of entering the United States without
  authorization, making entering the United States without authorization a misdemeanor and
  re-entering the United States without authorization after deportation a felony. Although no
  racial group was named in the 1929 legislation, racial animus motivated the bill’s author.
  Moreover, the politics of white supremacy dominated the politics of immigration control at
  the time. On these grounds, the individual racial animus of the original bill’s author and the
  prevailing politics of immigration legislation leading into and during the 1920s, the
  criminalization of unauthorized entry was a racially motivated act. Unsurprisingly, the new
  law delivered racially disparate outcomes.

          The modern system of federal immigration control began during the 1870s. Before that,
  states and cities largely set immigration policy. But the Panic of 1873 triggered a deep economic
  recession across the United States that exacerbated what scholars call “anti-Chinese sentiment”
  in the U.S. West, leading to the 1882 Chinese Exclusion Act, which prohibited Chinese
  laborers from entering the United States for ten years. The act was a more restricted
  measure than demanded by hardline westerners, but as one of the new law’s staunchest
  advocates explained, “If this law is strictly enforced it will not be many years before the
  [Chinese] race will, in all probability, be extinct in this country.” Ten years later, Congress
  passed the Geary Act, which extended the ban on Chinese laborers and required all lawful
  Chinese immigrants to register with federal authorities. Those who failed to do so would be
  subject to arrest, imprisonment and then deportation. The 1892 Geary Act marked a sweeping
  expansion of U.S. immigration control. Prior to the Geary Act, Congress had adopted
  legislation to prohibit certain groups of persons from entering the United States. By 1891,
  Chinese laborers and all prostitutes, convicts, “lunatics,” “idiots,” contract laborers, and
  those “liable to become public charges” were categorically prohibited from entering the
  United States. All such persons were to be stopped at immigration stations, interrogated, and
  denied entry into the country. But after the Geary Act, immigrants who had already
  established residence within the United States were subject to forced removal. Therefore, the


                                                  1




                                          EXHIBIT A
   Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 3 of 24

Case 2:20-cr-00134-RMP          ECF No. 61-3         filed 09/21/21    PageID.221 Page 3 of 9




  broadened the basic framework of U.S. immigration control beyond the nation’s borders to
  include deportation from within the United States.

         Since 1892, U.S. authorities have deported or otherwise forcibly removed more than fifty
  million people from the United States. In the early years of deportation, many of the nation’s
  deportees were Chinese immigrants. The Chinese Mounted Guard, which was established to
  police unlawful Chinese immigration in border regions, apprehended and deported thousands.
  But, by 1924, the focus of exclusion at U.S. borders and removal from within U.S. borders
  changed, turning toward the rising number of Mexican immigrants entering the United States.

         Few Mexicans immigrated to the United States at the close of the nineteenth century. But
  a period of land privatization in Mexico paired with agricultural development in the
  southwestern United States soon triggered an unprecedented wave of mass labor migration
  between Mexico and the United States. By the early 1900s, tens of thousands of Mexicans
  entered the United States every year. Most arrived in search of work and engaged in seasonal
  migrations between work in the United States and home in Mexico. By the 1920s, Mexicans
  made more than 1 million border crossings every year and emerged as the majority low-wage
  workforce in many southwestern industries. As the president of the Los Angeles Chamber of
  Commerce explained, “We are totally dependent . . . upon Mexico for agricultural and industrial
  common or casual labor. It is our only source of supply.”

          But Mexican immigrants were more than common and casual laborers. Living and
  working in the United States, Mexicans formed communities and associations, built homes,
  raised families, joined labor unions, and established everything from newspapers and businesses
  to bands and baseball teams. Building what has been described as MexAmerica and raising the
  first generation of Mexican Americans, Mexican immigrants made full and permanent lives for
  themselves and their children—an increasing number of whom were U.S.-born citizens—in the
  United States.

          The rise of MexAmerica made Mexican immigration a hot topic in the U.S.
  Congress during the 1920s. In a decade now remembered as the “Tribal Twenties”—a time
  when the Ku Klux Klan was reborn, Jim Crow came of age, and public intellectuals preached
  the science of eugenics—many representatives, especially those popularly known as
  “Nativists,” hoped to restrict and even end immigration to the United States from every region
  of the world other than western Europe.​3 In the past, they argued, slaveholders had made a
  terrible mistake by importing Africans to the country in the blind pursuit of profit. Nothing
  could be done to undo the tragedy of slavery—the introduction of Africans to the country,
  that is—but, they hoped, new immigration laws would limit the future peopling of the United
  States.

          For them, the 1882 Chinese Exclusion Act had been just the beginning of an enduring
  effort to restrict immigration to the United States. In the years that followed the 1882 law,
  Congress further restricted who could legally enter the United States. By 1917, Congress had
  banned all Asian immigration to the United States and also categorically prohibited all
  prostitutes, convicts, anarchists, epileptics, “lunatics,” “idiots,” contract laborers, and those
          .


                                                 2




                                          EXHIBIT A
   Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 4 of 24

Case 2:20-cr-00134-RMP           ECF No. 61-3          filed 09/21/21     PageID.222 Page 4 of 9




  “liable to become public charges” from entering the United States. Moreover, Congress adopted
  a fee structure and literacy test designed to keep the poor and illiterate from entering the country.
  Many Nativists still wanted more. In particular, they demanded a comprehensive whites-only
  immigration system

          In 1924, the Nativists scored a major legislative victory with the passage of the National
  Origins Act. The law affirmed all previous immigration restrictions, such as the total bans on
  contract laborers, epileptics, anarchists, polygamists, criminals, and all Asian immigrants. The
  1924 law also required all immigrants to submit to inspection at a U.S. immigration station,
  where they would have to pass a literacy test and a health exam and pay $18 in head taxes
  and visa fees before legally entering the country. Only western Europeans, they believed,
  would be able to pass such exams and pay the fees required for legal entry into the United
  States. Finally, the 1924 National Origins Act also established a system of national quotas that
  limited the total number of immigrants allowed to enter the country each year. The quota system
  constituted what historian John Higham has described as a “Nordic victory” by narrowing the
  pathways of legal immigration to allow only a particular portion of the world’s population to
  enter: 96 percent of all quota slots were reserved for European immigrants.

          However, to pass the National Origins Act, the Nativists in Congress made a
  painful compromise. Employers across the southwestern United States vehemently opposed
  the quota system. At a time when U.S. immigration authorities counted 100,000 Mexicans
  crossing the border each year, the quota system would limit Mexican immigration to a few
  hundred border crossers annually. The quota system threatened to cut the surge of Mexican
  immigration to a trickle. But industries in the West had become “dependent” on Mexican
  labor, explained employers, who voiced their opposition to the new law. Under pressure from
  these employers, a bloc of congressmen from western states refused to vote for a
  comprehensive quota system, forcing the Nativists in Congress to choose between accepting
  a Mexican quota exemption or passing no immigration law at all. The westerners won.
  Therefore, the 1924 National Origins Act exempted all immigrants from the Western
  Hemisphere, including Mexican immigrants, from the quota system. So long as Mexican
  immigrants complied with the administrative requirements for legal entry—submitted to
  inspection at an official port of entry, passed the literacy test and health exam, and paid the
  $18 head tax—an unlimited number of them could enter the United States each year.

          Nativists chafed at the Western Hemisphere exemption. As one congressmen complained
  during the 1924 hearings, “what is the use of closing the front door to keep out undesirables
  from Europe when you permit Mexicans to come in here by the back door by the
  thousands and thousands?” After the passage of the 1924 National Origins Act, the nativists
  campaigned to add Mexico’s migrant workers to the quota system. Mexico was a nation of
  mongrels, they argued. As such, Mexicans were unassimilable racial inferiors and
  unrestricted Mexican immigration jeopardized the core objective of the National Origins
  Act. “The continuance of a desirable character of citizenship is the fundamental purpose of
  our immigration laws. Incidental to this are the avoidance of social and racial problems, the
  upholding of American standards of wages and living, and the maintenance of order. All of




                                                   3




                                           EXHIBIT A
   Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 5 of 24

Case 2:20-cr-00134-RMP           ECF No. 61-3          filed 09/21/21     PageID.223 Page 5 of 9




  these purposes will be violated by increasing the Mexican population of the country,” explained
  Congressmen John C. Box (Texas) who co-sponsored a 1926 bill to limit Mexican immigration
  to the United States. The growers defeated the 1926 Box Bill but the nativists tried again in 1928
  arguing that the exemption for Mexican workers needed to be terminated because, as they
  forebodingly warned, “Our great Southwest is rapidly creating for itself a new racial problem, as
  our old South did when it imported slave labor from Africa.”

          Throughout their debates with the nativists, southwestern growers fully agreed with the
  notion that Mexico’s immigrant workers presented a “racial problem” and thereby conceded the
  nativists’ point that Mexican immigration posed a threat to American society. As S. Parker
  Frisselle of the California Farm Bureau Federation explained during the 1926 hearings, “with the
  Mexican comes a social problem…It is a serious one. It comes into our schools, it comes into
  our cities, and it comes into our whole civilization in California.” But after assuring the nativists
  that “We, gentlemen, are just as anxious as you are not to build the civilization of California or
  any other western district upon a Mexican foundation,” the growers countered the nativists’ call
  to place a numerical limit upon Mexican immigration to the United States by arguing that
  without unrestricted access to Mexican workers, the rising empire of agribusinesses in the
  American southwest would turn to ruin. Instead of ending Mexican immigration, they offered the
  nativists a promise. “We, in California,” vowed Friselle, “think we can handle that social
  problem.” For, as another agribusinessman from Texas testified, “if we could not control
  the Mexicans and they would take this country it would be better to keep them out, but we can
  and do control them.”

          The pledge that “we can and do control them” referred to the social world of agribusiness
  in the U.S.-Mexico borderlands. Agribusinessmen and the demands of their enterprises
  dominated the political, social, and cultural life of borderland communities as the racialized
  organization of work refracted throughout community life. Whites held land or managed workers
  while Mexicanos harvested, plowed, picked, tended, reaped, and migrated. As Devra Weber,
  Paul Schuster Taylor, and others have detailed, the racialized divisions in California were so
  crude that “the owners and top managers were white: foremen, contractors and workers were
  Mexican.”​[8] In Texas, one young white farmer explained that white landholders and tenants lived
  a life of leisure because “we have the Mexicans here and don’t work.”​[9] The hierarchy
  between Anglo-American landowners, white managers, and Mexicano workers reverberated
  throughout the region where highly racialized practices of social segregation, political
  repression, and community violence accompanied the patterns of economic exploitation that
  locked the region’s large Mexicano population in low-wage work. From Texas to California,
  white and Mexicano children attended separate and unequal schools.               Poll taxes and
  political bosses effectively disenfranchised Mexicano voters.           Mexicans had limited
  employment options outside of agriculture. Police violence against Mexicanos was common.
  And, where it was most extensive, “No Negroes, Mexicans, or Dogs” signs were posted on
  restaurant doors.

        While the quota system reduced immigration from most corners of the world Mexican
  immigration soared. In fact, by the end of the 1920s Mexico became one of the leading sources




                                                   4




                                           EXHIBIT A
   Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 6 of 24

Case 2:20-cr-00134-RMP           ECF No. 61-3         filed 09/21/21    PageID.224 Page 6 of 9




  of immigration to the United States. This unnerved the Nativists. Mexicans, they hollered, were
  “peons,” “mongrels,” and “racially unfit for [U.S.] citizenship.” Mexican immigration, they
  believed, threatened to degrade the nation’s “Aryan” stock. It needed to be stopped. But
  according to the 1924 Immigration Act, an unlimited number of Mexicans would be allowed to
  enter the United States every year. All Mexicans had to do was travel to an official port of entry
  anywhere along the U.S.–Mexico border, submit to inspection, pass the literacy test and health
  exam, and pay—or have paid by their employers—the $18 entrance fee. Mexicans did this one
  million times during the 1920s. On top of this, many Mexicans crossed the border without
  officially registering for legal entry. They evaded the expense and inconvenience of legal entry
  and, instead, simply crossed the border along its many desolate stretches between ports of entry.
  The U.S. Immigration Service estimated that Mexicans made an estimated half-million
  unauthorized border crossings during the 1920s. With western industries continuing to expand,
  every indicator suggested that Mexican immigration, both authorized and unauthorized, would
  only increase in the years ahead. The continued threat of Mexico’s “mongrels” migrating into the
  United States undermined the Nativists’ Nordic victory of 1924.

          But the Nativists in Congress never gave up their quest to end Mexican immigration to
  the United States. After the passage of the 1924 Immigration Act, they proposed bill after bill
  attempting to add Mexico to the quota system. Between 1926 and 1930, Congress repeatedly
  debated the future of Mexican immigration into the United States. Each time,
  employers—namely those in the business of industrial agriculture in the U.S. West—protested.
  S. Parker Frisselle was the first person to testify before Congress when the Mexican quota
  hearings began in January 1926. An influential farmer and lobbyist from California, Frisselle
  was a leading voice among the dozens of agribusiness owners who journeyed to Congress to
  support unrestricted Mexican immigration to the United States. Immigration control, Frisselle
  conceded, was one of Congress’s most sacred duties. Immigrants, he explained, were permanent
  residents who, in time, became U.S. citizens. Congress, therefore, rightly passed laws to restrict,
  limit, and filter immigration to the United States. Thus Frisselle supported the Nativists’ pursuit
  of immigration restriction. “We, gentlemen,” he testified, “are just as anxious as you are not
  to build the civilization of California or any other western district upon a Mexican foundation.”

         However, argued Frisselle, Mexicans were not immigrants. “There is . . . in the minds of
  many the thought that the Mexican is an immigrant,” explained Frisselle. That thought
  was wrong, he assured. “The Mexican,” he testified, “does not remain.” “He always goes
  back,” promised Frisselle. “The Mexican,” continued Frisselle, “is a ‘homer.’ Like the pigeon
  he goes home to roost.” On this promise that Mexicans were “bird[s] of passage” who would,
  at the end of each season, return to Mexico, never settling north of the border and never
  becoming Mexican American, the western lobby defeated the 1926 bill to cap Mexican
  immigration to the United States.

         Two years later, as Congress continued to debate Mexican immigration, George
  C. Clements, a lobbyist from Los Angeles, emerged as a leader among the
  western agribusinessmen. As the director of the Agricultural Bureau of the Los Angeles
  Chamber of Commerce, Clements’s full-time occupation was the protection and advancement of




                                                  5




                                          EXHIBIT A
   Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 7 of 24

Case 2:20-cr-00134-RMP          ECF No. 61-3         filed 09/21/21    PageID.225 Page 7 of 9




  the interests of agribusiness. An evangelist for unrestricted Mexican immigration, he traveled
  around Los Angeles and throughout the southwest lecturing on the topic. He also provided
  research to congressional committees, consulted with California’s governors, organized industry
  wide meetings, and vigorously confronted all challenges to the organization of agriculture in the
  West. When liberal academics challenged the inequities of agribusiness, Clements picked apart
  their claims in counterstudies and editorials. Indefatigable, Clements was a driving force behind
  the western lobby for unrestricted Mexican immigration.

          According to Clements, just one fact mattered in the Mexican immigration debate. The
  fact, as Clements put it, was that Mexican immigrants were “swallows”: like migrating birds,
  they would never permanently settle within the United States. Mexicans, he explained, “have no
  intention of becoming citizens within the United States.” A Mexican would not settle in the
  United States because “his homing instincts take him back to Mexico.” But if the homing instinct
  of Mexico’s swallows were ever to falter, “we need not be burdened with his keep.” Estimating
  that 80 percent of California’s Mexican working population had entered the country without
  authorization, Clements assured worried Nativists that Mexicans could be forcibly removed from
  the country. “He is deportable,” Clements wrote, lectured, and testified. Mexican deportability,
  argued Clements, was a social fact that Congress could depend on when voting to leave Mexican
  immigration unrestricted.

         Clements also asked the opponents of unrestricted Mexican immigration to carefully
  consider one question before voting against it. That question, according to Clements, had
  nothing to do with Mexicans. It had to do with blacks. “The one problem which should give us
  pause is the negro problem,” explained Clements. “I warn you. American business has no
  conscience. If the Mexican is denied us, the [Puerto Rican] negro will come,” he
  cautioned. Knowing his adversary well, Clements baited the nervous Nativists of the Tribal
  Twenties. “Which do you choose,” he asked, Mexico’s deportable birds of passage or
  Puerto Rican Negroes who, as citizens, would leave the edge of U.S. empire to
  settle within the final frontier of Anglo-America? “When once here always here,”
  warned Clements; the Puerto Rican Negro would pose “a continual social problem and a
  growing menace. You can not deport him.” The only real question, therefore, was whether
  Congress would open the Anglo-American West to permanent black settlement or make its
  peace with Mexico’s birds of passage. Itinerant, impermanent, and disposable Mexican
  labor migration, he offered, was the only real solution for the development of the American
  West.

         But by 1929, the western promises of Mexican impermanence had worn thin. Mexican
  immigration was soaring. Ten percent of the Mexican population already lived north of the
  border. How many more Mexicans would cross the border to settle in the United States?
  Nativists in Congress pounded the western employers for answers, charging them with recklessly
  courting the nation’s racial doom with unrestricted migration from Mexico. Western employers
  refused to budge. At this moment, amid the escalating conflict between Anglo-American
  employers in the West and anxious Nativists in Congress, a senator from Dixie proposed
  a compromise.




                                                 6




                                          EXHIBIT A
   Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 8 of 24

Case 2:20-cr-00134-RMP          ECF No. 61-3         filed 09/21/21     PageID.226 Page 8 of 9




          A proud and unreconstructed white supremacist, Coleman Livingston Blease hailed
  from the hills of South Carolina. When Blease was elected to the state assembly in
  1889, his first legislative proposal was a bill to racially segregate all railroad cars in South
  Carolina. The bill failed, but in the years ahead, Blease successfully rode a rising wave of rabid
  antiblack racism to the South Carolina governorship and then, in 1925, to the U.S. Senate.
  The self-appointed “political heir” to “Pitchfork” Ben Tillman, Senator Blease was,
  according to one biographer, touched by a strain of “Negro-phobia that knew no bounds.”

          When Blease marched into Congress in 1925, he was prepared to battle any perceived
  threat to white supremacy. He was against the idea of a world court because he opposed any
  “court where we [Anglo-Americans] are to sit side by side with a full blooded ‘nigger.’” In
  this case, Blease referred to the possibility of a Haitian judge being appointed to the world
  court. In terms of immigration control, Blease campaigned on 100 percent Americanism, and
  once in Congress, he feverishly opposed any attempt to roll back immigration restriction and
  pushed Congress to prohibit the U.S. government from hiring noncitizens. The bill was rejected
  three times. He also proposed limiting the voting rights of naturalized citizens. This, too,
  Congress rejected. But in early 1929, as Congress was locked in an unending debate over the rise
  of Mexican immigration to the United States, it was Senator Coleman Livingston Blease from
  South Carolina who negotiated a settlement between the congressional Nativists and western
  agribusinessmen during the Tribal Twenties.

          Blease shifted the conversation to controlling unauthorized Mexican migration rather
  than capping authorized migration. Citing the large number of unauthorized border crossings
  made by Mexicans each year, Senator Blease proposed criminalizing unlawful entry into
  the United States. Mexicans regularly crossed the border without authorization, making
  them particularly vulnerable to prosecution and incarceration according to Blease’s bill.
  According to Senator        Blease’s    proposal,     “unlawfully     entering     the country”
  would be a misdemeanor punishable by a $1,000 fine and/or up to one year in prison,
  while unlawfully returning to the United States after deportation would be a felony
  punishable by a $1,000 fine and/or up to two years in prison. As written, the new law
  would affect any immigrant who unlawfully entered the United States, but it was
  introduced into Congress as a measure to control and punish unlawful Mexican
  immigrants, in particular. To this, the western agribusinessmen registered no protest.
  Mexican deportability, after all, was an asset to agribusinessmen in search of a
  temporary labor force. As Frisselle put it in 1926, “We, in California, would greatly prefer
  some set up in which our peak labor demands might be met and upon the completion of our
  harvest these laborers returned to their country.” Like deportation, the criminalization of
  unauthorized entry only strengthened the position of agribusiness owners. On March 4, 1929,
  Congress passed Blease's bill. Within one year, Blease's law was delivering results.

          With stunning precision, the criminalization of unlawful entry caged thousands
  of Mexico’s proverbial birds of passage. Within one year of enforcement, U.S. attorneys
  prosecuted 7,001 cases of unlawful entry. By 1939, they had prosecuted more than 44,000 cases.
  In no year did the U.S. attorneys' conviction rate fall below 93 percent of all immigration cases.




                                                 7


  crimes, no other federal legislation—not prohibition, not drug laws, and neither la
  against prostitution nor the Mann Act—sent more Mexicans to federal prison during the
  years.                                 EXHIBIT A
         Clearly, the archival record marks the criminalization of unauthorized entry as a racially
   Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 9 of 24

Case 2:20-cr-00134-RMP          ECF No. 61-3         filed 09/21/21    PageID.227 Page 9 of 9




  Taking custody of individuals convicted on federal immigration charges, the U.S. Bureau of
  Prisons reported that Mexicans never comprised less than 84.6 percent of all imprisoned
  immigrants. Some years, Mexicans comprised 99 percent of immigration offenders. Therefore, by
  the end of the 1930s, tens of thousands of Mexicans had been arrested, charged, prosecuted, and
  imprisoned for unlawfully entering the United States. With 71 percent of all Mexican federal
  prisoners charged with immigration crimes, no other federal legislation—not prohibition, not
  drug laws, and neither laws against prostitution nor the Mann act—sent more Mexicans to federal
  prison during those years.

         Clearly, the archival record marks the criminalization of unauthorized entry as a racially
  motivated act that quickly delivered racially disparate outcomes.



  DATED: August 2, 2020




  Kelly Lytle Hernandez




                                                 8




                                         EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 10 of 24



                               Professor Kelly Lytle Hernández
                                     Department of History
                            Department of African-American Studies
                                 Department of Urban Planning
                             University of California, Los Angeles
                                6265 Bunche Hall, Box #951473
                              Los Angeles, California 90095-1473
                                  hernandez@history.ucla.edu



EDUCATION
Ph.D., Department of History, University of California at Los Angeles, 1998 - 2002

B.A., Department of Ethnic Studies, University of California at San Diego, 1992 - 1996


ACADEMIC POSITIONS

Director, Ralph J. Bunche Center for African American Studies at UCLA, July 1, 2019 to present

Tom Lifka Endowed Chair in History (UCLA), July 1, 2019 to present

Interim Director, Ralph J. Bunche Center for African American Studies at UCLA, July 1, 2017 to
June 30, 2019

Professor, departments of History, African American Studies, and Urban Planning, July 1, 2017
to present

Associate Professor, Department of History, University of California at Los Angeles, 2010 - 2017

Director, UCLA Public History Initiative, 2012 - 2014

Associate Director, National Center for History in the Schools, 2010 - 2012

Associate Director, Chicano Studies Research Center, University of California at Los Angeles,
2008 - 2010

Assistant Professor, Department of History, University of California at Los Angeles, 2004 - 2010

University of California President’s Postdoctoral Fellow, Department of Ethnic Studies,
University of California, San Diego, 2002 - 2004

Research Fellow, Center for U.S.-Mexican Studies at the University of California, San Diego,
2001 - 2002

Research Fellow, Center for Comparative Immigration Studies at the University of California,
San Diego, 2001 - 2002

Visiting Scholar, Immigration and Naturalization Service Historical Library, Washington, D.C.,
2000

                                                1


                                          EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 11 of 24




MAJOR RESEARCH PROJECTS
Bad Mexicans (forthcoming from Norton Books)

Million Dollar Hoods (milliondollarhoods.org)

City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles, 1771 –
1965 (University of North Carolina Press, April 2017).

MIGRA! A History of the U.S. Border Patrol (Berkeley: University of California Press, 2010).



AWARDS and PRIZES
Commendation from the Los Angeles County Board of Supervisors for work on incarceration and
immigration (November 19, 2020)

2019 John D. and Catherine T. MacArthur Fellow

2019 Catalyst Award. Awarded CADRE for Million Dollar Hoods

2018 Local Hero Award (KCET). Awarded for Million Dollar Hoods as well as historical
scholarship on the rise of mass incarceration in Los Angeles.

2018 John Hope Franklin Prize for most outstanding book in American Studies. Awarded by the
American Studies Association for City of Inmates: Conquest, Rebellion and the Rise of Human
Caging in Los Angeles, 1781-1965 (University of North Carolina Press, 2017).

2018 Athearn Book Award for the best book on the history of the twentieth-century American
West. Awarded by the Western History Association for City of Inmates: Conquest, Rebellion and
the Rise of Human Caging in Los Angeles, 1781-1965 (University of North Carolina Press, 2017).

2018 American Book Award for excellence in American literature. Awarded by the Before
Columbus Foundation for City of Inmates: Conquest, Rebellion and the Rise of Human Caging in
Los Angeles, 1781-1965 (University of North Carolina Press, 2017).

2018 FREEDOM NOW! AWARD. Awarded for Million Dollar Hoods by the Los Angeles
Community Action Network.

2018 John A. Rawley Prize for best book in U.S. race relations. Awarded by the Organization of
American Historians for City of Inmates: Conquest, Rebellion and the Rise of Human Caging in
Los Angeles, 1781-1965 (University of North Carolina Press, 2017)

2015 Louis Knott Koontz Award for best article published in Pacific Historical Review,
American Historical Association – Pacific Coast Branch. Awarded by the Board of Editors of the
Pacific Historical Review to “Hobos in Heaven: Race, Incarceration, and the Rise of Los
Angeles, 1880 -1910.”

2010 Clements Book Award, Clements Center for Southwest Studies, Southern Methodist
University. Awarded for MIGRA! A History of the U.S. Border Patrol.

                                                2




                                         EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 12 of 24



Honorable Mention, 2010 Lora Romero First Book Prize, American Studies Association

Honorable Mention, 2010 John Hope Franklin Book Prize, American Studies Association

2007 Oscar O. Winther Prize for the best article published in the Western Historical Quarterly
(2006). Awarded by the Board of Editors of the Western Historical Quarterly to “The Crimes
and Consequences of Illegal Immigration: A Cross-Border Examination of Operation Wetback,
1943-1954,” Western Historical Quarterly (Winter 2006), 421-444.

2007 Bolton-Kinnaird Prize in Borderlands History. Awarded by the Western History Association
to “The Crimes and Consequences of Illegal Immigration: A Cross-Border Examination of
Operation Wetback, 1943-1954,” Western Historical Quarterly (Winter 2006), 421-444.

Norris F. Hundley Dissertation Prize (UCLA), 2002.

SELECTED ESSAYS and ARTICLES
Kelly Lytle Hernández, “The Rise of Mass Incarceration in Los Angeles,” in Care First, Jails
Last: Health and Racial Justice Strategies for Safer Communities (Los Angeles County
Alternatives to Incarceration Work Group Final Report, February 2020)

Kelly Lytle Hernández, guest editor for “Carceral West,” a Special Volume of Pacific Historical
Review (January 2019)

Kelly Lytle Hernández, “Reforming Deportees: Imprisonment and Immigration Control during
the 1930s,” Beyond the Borders of the Law: Critical Legal Histories of the North American West,
eds., Katrina Jagodinsky and Pablo Mitchell (University of Kansas Press, 2018), 263-280.

Kelly Lytle Hernández, Khalil Gibran Muhammad, and Heather Ann Thompson, co-editors and
co-authors of “Constructing the Carceral State,” in “Constructing the Carceral State,” a Special
Volume of the Journal of American History (June 2015).

“Hobos in Heaven: Race, Incarceration, and the Rise of Los Angeles, 1880 -1910,” Pacific
Historical Review v. 83, n. 3 (August 2014), 410-447.

“The Deportees: Mexican Immigration and the Rise of U.S. Immigration Control during the
1920s,” in Rafael G. Alarcón Acosta and Fernando Saúl Alanís Enciso, ed. Historia de la
Migración Mexicana a Estados Unidos. Visiones Comparadas (Siglo XIX, 2013).

“Amnesty or Abolition? Felons, Illegal Immigrants and America’s Unfinished Abolition
Movement,” Boom: A Journal of California (Winter 2012), 54-68.

“Borderlands and the Future History of the American West,” Western Historical Quarterly v 42, n
3 (Autumn 2011), 325-330.

Interchange participant, “Latino History: An Interchange on Present Realities and Future
Prospects,” v 97, n 2 Journal of American History (September 2010), 424-463.

“Mexican/Central American Migration to the United States,” OAH Magazine of History v 23
(October 2009), 25-30.


                                                3



                                           EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 13 of 24


Kelly Lytle Hernández and Pablo Yankelevich, eds. “Dossier 1: The Archive,” Aztlán: A Journal
of Chicano Studies (Spring 2009).

Kelly Lytle Hernández and Pablo Yankelevich, “An Introduction to el Archivo Histórico del
Instituto Nacional de Migración,” Aztlán: A Journal of Chicano Studies (Spring 2009).

“Persecuted Like Criminals: The Politics of Labor Emigration and Mexican Migration Controls
during the 1920s and 1930s,” Aztlán: A Journal of Chicano Studies (Spring 2009).

“The Crimes and Consequences of Illegal Immigration: A Cross-Border Examination of
Operation Wetback, 1943-1954,” Western Historical Quarterly v 37, n 4 (Winter 2006), 421-444.

“Ni blancos ni negros: mexicanos y el papel de la patrulla fronteriza estadounidense en la
definición de una nueva categoría racial, 1924-1940,” Cuicuilco v 11, n 31 (Mayo-Agosto 2004),
85-104.

Mexican Immigration to the United States, 1900 – 1999: A Sourcebook for Teachers, published
by the National Center for History in the Schools (Fall 2002).


POLICY REPORTS and ARTICLES
Co-author, “Immigration Enforcement at the Orange County Jail,” (Million Dollar Hoods), June
11, 2019

Co-author, “Bookings into the Los Angeles County Jail (2010-2016): A Million Dollar Hoods
White Paper prepared for the Los Angeles County Alternatives to Incarceration Work Group,”
(Million Dollar Hoods), June 11, 2019

Co-Author, “The Los Angeles Police Department’s Metropolitan Division,” (Million Dollar
Hoods, April 2, 2019.

Co-author, “Women in the Los Angeles County Jail: An Analysis of LASD Booking Data (2010-
2016),” (Million Dollar Hoods), January 8, 2019

Co-author, “Policing Our Students,” (Million Dollar Hoods), October 30, 2018.

Co-author, “The Price of Freedom: Bail in the City of L.A.,” (Million Dollar Hoods), May 14,
2018.

Co-author, “Policing the Unemployed in Los Angeles,” (Million Dollar Hoods), May 2, 2018.

Co-author, “Race, Cannabis, and Recent Disparities in Cannabis Enforcement by the LAPD,”
(Million Dollar Hoods), February 28, 2018.

Co-author, “Access to Freedom: Caged L.A.,” Items: Insights from the Social Sciences (Social
Science Research Council), February 20, 2018

Co-author, “Policing the Houseless 2.0,” (Million Dollar Hoods), December 5, 2017

Co-author, “The Price for Freedom: Bail in the City of Los Angeles,” (Million Dollar Hoods),
December 5, 2017

                                               4


                                         EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 14 of 24



Co-author, “Policing the Houseless,” (Million Dollar Hoods), October 10, 2017

“How Crossing the U.S.-Mexico Border Became a Crime,” The Conversation, April 30, 2017.

“Largest Deportation Campaign in U.S. History is No Match for Trump’s Plan,” The
Conversation, March 8, 2017.

“America’s Mass Deportation System is Rooted in Racism,” The Conversation, February 26,
2017



SELECTED BOARDS and PROFESSIONAL SERVICE
National Book Award, 2019 Literature for Justice Committee, April 2019 to present

Society of American Historians, elected member, 2019 - present

Los Angeles Civic Memory Working Group, 2019 - present

Appointed by Supervisor Hilda Solis to the Los Angeles County Alternatives to Incarceration
Workgroup, co-chair of the Data and Research Committee, March 2019 to March 2020.

Chair, American Talent Initiative Faculty Committee (UCLA)

Committee Member, Time to Degree Taskforce (UCLA)

Foundation Board Member, ACLU of Southern California, March 2018 – present

UC Systemwide Faculty Advisory Committee, UCLA representative, UC President’s
Postdoctoral Fellowship Program, 2017 to present

Editorial Board Member, The Journal of American History, March 2017 – present

Program co-chair with Andrew Graybill (Southern Methodist University) and Katherine Benton-
Cohen (Georgetown University), Western History Association 2017 Annual Meeting, current

Editorial Board, David J. Weber Series in New Borderlands History, University of North Carolina
Press, 2012 – present

American Quarterly, Managing Board, 2010 – 2014

Western Historical Quarterly, Editorial Board, 2011 – 2014

LABOR: Studies in Working-Class History of the Americas, Contributing Editor, current

Distinguished Speaker, Western History Association, 2012-2016

Distinguished Lecturer, Organization of American Historians, 2011 - present

Organization of American Historians, member and 2013 Program Committee member

                                               5



                                         EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 15 of 24




SELECTED MEDIA INTERVIEWS

Interview for Factually! With Adam Conover, episode title, “The Racist Roots of America’s
Immigration Laws.” Originally aired on February 18, 2020.

Interview for United States of Anxiety (WNYC), episode title, “Fragility in Liberty.” Originally
aired February 20, 2020.

“LAUSD Plans to Expand List of Offenses Eligible for Diversion to Reduce Racially Disparate
School Arrests,” WitnessLA, October 7, 2019

“San Diego Native Wins MacArthur “Genius” Grant,” Midday Edition, KPBS San Diego, October
3, 2019

“Los Angeles Working to Expand Diversion Programs to Further Reduce Student Arrests and
Increase Services,” LAUSD Press Release, October 1, 2019.

Live television interview about MacArthur grant, Univision, September 30, 2019.

Live radio interview about MacArthur grant on Press Play with Madeleine Brand, KCRW,
September 26, 2019

“Rebel Historian Who Reframes History Receives MacArthur Genius Grant,” All Things
Considered,” National Public Radio, September 25, 2019.

“MacArthur Genius Grant Winners of 2019: The Full List,” New York Times, September 25, 2019

“Who’s behind the law making undocumented immigrants criminals? An ‘unrepentant white
supremacist,” Washington Post, June 27, 2019.

Live radio interview on Worldview with Steve Bynum on WBEZ (Chicago), June 27, 2019.

“Million Dollar Hoods: Why L.A. Cages More People than Any Other City,” Justice Not Jails, July
4, 2018.

“Councilmember Harris-Dawson Joins Community Groups to Urge State and Local Officials to
End Cash Bail: New study from UCLA’s Million Dollar Hoods Project highlights the
disproportionate Price for Freedom,” Los Angeles Sentinel, May 17, 2018.

Mother’s Day Bailout press conference (Skid Row, Los Angeles), May 10, 2018

“We Live as Second-Class Citizens: What It’s Like to Face Border Patrol Agents Every Day,” The
Guardian, May 3, 2018.

“Many Latinos Answer Call of the Border Patrol in Age of Trump,” Los Angeles Times, April 23,
2018.

Mexican Americans and the History of U.S. Anti-Cannabis Laws, Mitu (first posted February 2018)


                                               6




                                          EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 16 of 24



“The American Detention Machine,” The Atlantic, February 23, 2018

“The Double Punishment for Black Undocumented Immigrants,” The Atlantic, December 30,
2017 (interviewee)

On-camera interview, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los
Angeles, C-SPAN Book TV (2017)

“Life on a Million Dollar Block,” six-week “Off the Block” series for KCRW (NPR affiliate) based
on Million Dollar Hoods mapping project. September/October 2016.

Interviews with the following outlets in response to Donald Trump’s deportation and border
enforcement strategy: Los Angeles Times, New York Times, Washington Post, The Intercept, and
FactCheck.org.

“A Two-Minute History of Operation Wetback” . CNN. First aired January 2016.

Podcast, “The Carceral State,” Journal of American History. Conducted June 2015.

On-air interview, “States, Feds Battle over Border Control,” The World hosted by Marco Werman
for Public Radio International. Interview conducted in July 2010.

On-camera interview for History Channel production entitled, “El Camino Real” on the history of
the Spanish mission system in California. Interview conducted on August 11, 2005

Consultant and on-camera interview for History Channel production entitled, “The Border Patrol.”
Interview conducted spring 2001.


SELECTED TALKS, PRESENTATIONS, AND LECTURES
Guest Speaker, American Civil Liberties Union of Southern California, October 4, 2019

City of Inmates book talk, The Bail Project (Los Angeles), June 25, 2019

Nation of Settlers, Build Power! Launch Party (Hollywood), May 16, 2019

Million Dollar Hoods, Institute for Research on Labor and Employment (UC Berkeley), May 14,
2019

Keynote, Nation of Settlers, Teaching History Conference (UCLA), May 3, 2019

Keynote, City of Inmates book talk, Los Angeles County Alternatives to Incarceration
Workgroup Retreat, April 26, 2019

Keynote, Million Dollar Hoods, Oberlin College, April 24, 2019

Keynote, Immigrant Detention Conference, University of Maryland, March 28, 2019

Keynote, Immigration Conference, California State University, Sacramento, March 7, 2019


                                               7



                                          EXHIBIT A
    Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 17 of 24


Panelist, The Future of Incarceration, The State of Black California Conference (Sacramento,
CA), February 27, 2019

City of Inmates book talk, Marquette University, February 21, 2019

City of Inmates book talk, University of Wisconsin - Madison, February 22, 2019

Keynote, Mass Deportation/Incarceration, LatinoJustice, November 16, 2018

Panelist, “Sorry to Bother You” Screening at UCLA, November 6, 2018

Panelist, Men’s Empowerment Conference hosted by KJLH and Senator Bradford at California
State University, Dominguez Hills, September 8, 2018.

Keynote, New Left Coast Forum hosted by L.A. Progressive at Los Angeles Trade Tech, August
24, 2018.

Panelist, People Power Conference sponsored by the Community Coalition (South Central Los
Angeles), June 9, 2018.

Presentation, “The Facts and Fictions of Latinos and the U.S. Criminal Justice System,”
LatinoJustice convening at UCLA, May 29, 2018

City of Inmates book talk, California Historical Society (San Francisco, CA), May 23, 2018.

City of Inmates book talk for Los Angeles Department of Public Health, May 31, 2018.

Guest Presentation, Women and Incarceration in LA, for A New Way of Life Fundraiser (Los
Angeles), May 19, 2018.

Press conference on money bail. Sponsored by Community Coalition (South Central Los
Angeles), May 15, 2018.

Comments, Dream Mentor Program organized by the Miller Center at the University of Virginia
(Charlottesville, CA), May 10, 2018.

Keynote, Caughey Foundation Lecture at the Autry Museum (Los Angeles, CA), April 29, 2018

Keynote, Public Records and the Movement to End Mass Incarceration, California Public
Records and Open Meetings Conference (Los Angeles, CA), April 27, 2018

Book talk, City of Inmates, University of North Texas (Denton, TX), April 26, 2018.

Book talk, City of Inmates, Pan-African Studies Department at California State University, Los
Angeles (Los Angeles, CA), April 23, 2018.

Book talk, City of Inmates, Main Museum (Los Angeles, CA), April 19, 2018.

Book talk, City of Inmates, Cerritos Community College (Los Angeles, CA), April 19, 2018.



                                                8


                                         EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 18 of 24


Panelist, Crimmigration, Organization of American Historians Annual Meeting (Sacramento, CA)
April 12, 2018

Keynote, Death by Police conference at University of Illinois at Urbana-Champagne, April 11,
2018

Public Talk, Labor and the Crisis of Mass Incarceration, United Food and Commercial Workers
Local 770 (Los Angeles, CA), March 15, 2018

Book talk, City of Inmates, University of California, Berkeley, March 14, 2018.

Book talk, City of Inmates, California State University, Channel Islands, February 28, 2018.

Moderator for a public conversation with Patrisse Khan-Cullors and Asha Bandele, When They
Call You a Terrorist: A Black Lives Matter Memoir (2018) at The California Endowment (Los
Angeles, CA), February 14, 2018

Book talk, City of Inmates, Immigration History Research Center, University of Minnesota,
January 25, 2018.

Moderator for a public Conversation with Heather Anne Thompson, Blood in the Water: The
1971 Attica Uprising and its Legacy at the Los Angeles Public Library, January 18, 2018.

Panelist, District 2 Town Hall, hosted by JusticeLA and White People for Black Lives,
(Hollywood, CA), January 11, 2018.

Book Talk, City of Inmates, University of Southern California (Los Angeles, CA), January 10,
2018.

Panelist, #SocialJustice with Common and Kareem Abdul-Jabbar (Los Angeles, CA), January 6,
2018

Project Talk, Million Dollar Hoods, UCLA Medical School, December 15, 2017

Book Talk, Watts Labor Community Action Center, December 14, 2017.

Expert Witness, Civil Society Meeting on Criminalization of Poverty and Homelessness with
United Nations Special Rapporteur on Extreme Poverty and Human Rights
Professor Philip Alston, (Los Angeles, CA), December 4-5, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
California State University, San Bernardino, (San Bernardino, CA), November 28, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles
ACLU-Southern California (Los Angeles, CA), November 19, 2017.

Presenter, UCLA Luskin Center for History and Policy, November 15, 2017.

Keynote Speaker, Eqbal Ahmed Symposium, Hampshire College (Amherst, MA), November 9,
2017.


                                                9


                                           EXHIBIT A
    Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 19 of 24


Panelist, Historians and Activism, Western History Association (San Diego, CA), November 3,
2017.

Closing Speaker, Race and Capitalism Conference, UCLA, October 20, 2017.

Presenter, UCLA Criminal Justice Faculty Workgroup, October 18, 2017.

Panelist, Beyond the Bars Conference, University of California, Los Angeles, October 14, 2017.

Presenter, The Racial and Sexual Politics of Migrancy and Border Control, University of
Michigan Centennial Event, October 13, 2017

Keynote Address/Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human
Caging in Los Angeles, Latino Studies University of Michigan (Ann Arbor, MI), October 12,
2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Warren Center at Harvard University (Cambridge, MA), September 19, 2017.

LAPD Recruit Training Session. Los Angeles, CA, August 14, 2017.

Million Dollar Hoods, Building Healthy Communities – Long Beach, California, August 9, 2017

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Book Soup (Hollywood, CA), August 6, 2017.

Plenary Panel, Labor and Working Class History Association 2017 Meeting (Seattle, WA), June
22, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Skylight Books (Los Angeles, CA), May 18, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
University of California, San Diego, May 18, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Claremont College of Theology (Claremont, CA), May 2, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Eso Won Book Store (Los Angeles, CA), April 26, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Occidental College (Pasadena, CA), April 25, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
California State Univeristy, Dominguez Hills, April, 20, 2017.

Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Tarleton College (Texas), April 18, 2017.



                                              10


                                         EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 20 of 24


Book Talk, City of Inmates: Conquest, Rebellion, and the Rise of Human Caging in Los Angeles,
Southern Methodist University (Dallas, Texas), April 17, 2017.

Keynote, Western History Association Lecture at University of Oklahoma. April 13, 2017.

Keynote, National Humanities Center, March 30, 2017.

Presenter, Laying Down the Law Symposium at University of Nebraska at Lincoln, November
16-17, 2017.

Million Dollar Hoods, South Central (Los Angeles) Re-Entry Coalition, September 11, 2016.

Million Dollar Hoods, California Endowment, September 18, 2016.

Plenary Session/Podcast, “Behind the Scholar’s Studio: Inside the World of Latino Studies,”
American Historical Association – Pacific Coast Branch. August 6, 2016.

Public Lecture, “Caged Birds: Immigration Control and the Rise of Mexican Imprisonment in the
United States,” Franklin and Marshall College. Lancaster, Pennsylvania. March 21, 2016.

Presenter, Immigration since 1965 Conference hosted at University of Texas, Austin. March 4-5,
2016.

Public talk, “Caged Birds: Conquest and the Rise of Mexican Imprisonment in the United States,”
Puget Sound University. February 29, 2016.

Discussant, UCLA Emerging Immigration Scholars Conference. February 26, 2016.

Keynote Address, “Caged Birds: Conquest and the Rise of Mexican Imprisonment in the United
States,” Caged/Uncaged Graduate Student Conference. University of California, Los Angeles.
January 29, 2016.

Keynote Address, “Caged Birds: Conquest and the Rise of Mexican Imprisonment in the United
States,” Borderlands Conference, University of Texas at El Paso. November 6, 2015.

Lecture, “The Colonial Origins of the Carceral State,” From the Color Line to the Carceral State:
Policing, Prisons, and Surveillance in the 20th and 21st Centuries conference, Stony Brook
University and Fairfield University. October 27-28, 2015.

Panelist, “Legal Borderlands,” Annual Meeting of the Western History Association. October 24,
2015.

Panelist, “Reforming Deportees: Race, Incarceration, and the Settler State during the New Deal
Era,” Annual Meeting of the Western History Association. October 22, 2015.

Public Talk, “The History of Race and Policing in Los Angeles,” LAPD Trust Talks organized by
the Downtown Clergy Council, Skid Row. October 3, 2015.

“Caged Birds: Conquest and the Rise of Mexican Imprisonment,” plenary panel, Annual Meeting
of the Organization of American Historians. St. Louis, Missouri. April 18, 2015.


                                               11


                                          EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 21 of 24


“Caged Birds: Conquest and the Rise of Mexican Imprisonment,” Immigration Conference,
Columbia University. April 4, 2015.

“Caged Birds: Conquest and the Rise of Mexican Imprisonment,” Department of History, Yale
University. March 31, 2015.

Panelist, “Is there an LA School of Western History?” Western History Association Annual
Meeting. Newport Beach, California. October 17, 2014.

Presenter, “Borderlands,” NEH-Newberry Workshop. Chicago, Illinois. June 23, 2014

Lecture, “Caged Birds: Conquest and the Rise of Mexican Incarceration,” University of
California, Davis Law School. September 11, 2014.
Public Lecture, “Caged Birds: Conquest and the Rise of Mexican Imprisonment,” University of
California, Santa Barbara. May 20, 2014.

Public Talk, “Caged Birds,” Linfield College. McMinnesville, Oregon. May 6-7, 2014.

OAH Distinguished Lecture at University of Missouri. April 24, 2014.

Panelist, Mass Incarceration/Mass Deportation,” UCLA Labor Center. April 19, 2014.

Discussant, UCLA-COLEF Migration Conference. November 22, 2013.

Keynote Discussant for Douglas Blackmon’s Talk, “Slavery by Another Name,” Historians
Against Slavery Conference. Cincinnati, Ohio. September 19, 2013.

Workshop for K-12 History teachers on California History. UCLA History-Geography Project.
June 13, 2013.

TAH-OAH Public Talk, “A History of U.S. Immigration Control.” Rockford, Illinois. January 26,
2013

TAH workshop, “California Under Three Flags,” UCLA History-Geography Project. January 22,
2013.

OAH Distinguished Lecturer Public Talk, “Hoboes in Heaven: Race, Manifest Destiny, and the
Rise of Los Angeles,” Purdue University. March 7, 2013.

Public Talk, “The Invention of Immigrant Detention,” University of California, Berkeley, Boalt
Law School. March 20, 2014.

Book Talk, MIGRA! A History of the U.S. Border Patrol, at the Center for the Study of the
Pacific Northwest, University of Washington, Seattle. May 17, 2012.

Keynote Address, “Amnesty or Abolition? Felons, Illegals, and America’s Unfinished Abolition
Movement,” Immigration Policy and Reality Symposium, San Jose State University, April 13,
2012.




                                               12


                                          EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 22 of 24


Working Paper, “Rebellion from the Jail: A History of Community, Incarceration, and Revolution
in Los Angeles, 1900 – 1910,” Sunbelt Prisons Conference, Southern Methodist University,
March 24, 2012.

Book Talk, MIGRA! A History of the U.S. Border Patrol at the Center for Comparative
Immigration Studies at the University of California, San Diego. February 21, 2012.
Public Lecture, “Hobos in Heaven: Tramps, Chain Gangs, and the Rise of Los Angeles,”
University of Indiana. February 26, 2012.

Public Talk, “Amnesty or Abolition: Felons, Illegals, and America’s Unfinished Abolition
Movement,” Boxcar Books, Bloomington, Indiana. February 26, 2012.

Conference Paper, “Rebellion from the Jails: A History of Incarceration and Community in Los
Angeles, 1907-1910,” Sunbelt Prisons workshop, University of Colorado, Boulder. September 15-
16, 2011

Keynote Address, Latino/a Scholars Luncheon, 2011 American Historical Association-Pacific
Coast Branch Meeting. Seattle, Washington. August 11, 2011.

K-12 Teacher Training, “History of Immigration Control,” Denver, Colorado School District.
July 11, 2012. Los Angeles, California.

Panel Participant, “Prison State: Incarceration in California,” UCLA Department of History, Why
History Matters series. Autry Museum. May 11, 2011.

Panel moderator, conference for the UC Center for New Racial Studies. UCLA. April 22, 2011.

Presenter, “MIGRA! A History of the U.S. Border Patrol,” Critical Race Studies Symposium –
Race and Sovereignty. UCLA Law School. April 2, 2011.

Book Talk, “MIGRA! A History of the U.S. Border Patrol,” Arizona State University. March 25,
2011.

Keynote Address, “Beyond Borders: Migration and the Next California,” Symposium to celebrate
the launching of Boom: A Journal of California (University of California Press). Davis,
California. March 10, 2011.

Presenter, “Hoboes in Heaven: Tramps, Convict Labor and the Rise of Los Angeles, 1880-1910,”
Autry Western History Workshop. November 30, 2010

Panelist, “Hoboes in Heaven: Tramps, Convict Labor and the Rise of Los Angeles, 1880-1910,”
Latin American Studies Association. Toronto. October 8, 2010.

Book talk, “MIGRA! A History of the U.S. Border Patrol,” UCLA Law School. October 4, 2010.

Panel moderator, Forty Years of Ethnic Studies at UCLA. May 13, 2010

Panelist, “Crossing Borders, Creating Borders: Nations, Migrants, and Constructions of Law,”
2009 Annual Meeting of the Association of American Law Schools. San Diego, California.
January 9, 2009.


                                              13


                                          EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 23 of 24


Keynote lecture series, Los caminos de la exclusión: migración y racismo en la historia de los
Estados Unidos de América. Sponsored by Sociedad y Estado en el México Moderno del
Posgrado de Historia y Etnohistoria de la Escuela Nacional de Antropología e Historia y el
Proyecto de Investigación “Nación y Extranjería en México.” Mexico City. December 7-11,
2009.

K-12 Teacher Training, “U.S.-Mexico Relations: Immigration Policy,” UCLA History-
Geography Project’s Teaching American History Summer Institute. Glendale, California. July
17, 2008.

Panel Participant, “Immigration Control in the Carceral Era,” invited presentation at University of
Texas at Austin. 22nd Annual Hemann Sweatt Civil Rights Symposium. March 26, 2008.

K-12 Teacher Training, “Gold Rush to Gold Rush: African American Migration to California,
1848 to 1944,” presentation for the National Center for History in the Schools. University of
California, Los Angeles. August 17, 2007.

K-12 Teacher Training, “The Long Civil Rights Movement: New Strategies in Teaching the Civil
Rights Movement,” presentation for the UCLA History-Geography Project’s Teaching American
History Summer Institute. Glendale, California. July 28, 2007.

Training Workshop, “Where Do We Go From Here?: New Strategies in Teaching Late
Twentieth Century American History,” 2007 OAH Community College Workshop at El Camino
Community College. Torrance, California. June 23, 2007.

K-12 Teacher Training, “A History of the Problem of Illegal Immigration at the U.S.-Mexico
Border,” presentation for the Latin American Immigrants and Mobile Communities in the United
States Conference for Teachers, sponsored by the UCLA Latin American Center. April 20, 2007.

K-12 Teacher Training, “The Making of MexAmerica: Race, Migration, and Incorporation in the
19th and 20th Centuries,” presentation for the National Center for History in the Schools at the
University of California, Los Angeles. January 19, 2007.

Chair, “Smuggling in the Southwest Borderlands: State Regulation and Resistance,” panel at the
2007 Annual Conference of the Western History Association. Oklahoma City, Oklahoma.
October 3-6, 2007

“The Crimes and Consequences of Illegal Immigration: A Cross-Border Examination of
Operation Wetback, 1943-1954,” presented at the Annual Conference of the Organization of
American Historians held from April 19-22, 2006 in Washington, DC.

“Negotiating the Barrier: Migration Control and Social Order between the U.S. and Mexico
during the Bracero Era, 1942 – 1964,” presented at the Latin American Studies Association 2004
Conference held from October 7-9, 2004 in Las Vegas, Nevada.

“Constructing the Criminal Alien: A Historical Framework for Analyzing Border Vigilantes at the
Turn of the 21st Century” presented at the Center for Comparative Immigration Studies at the
University of California, San Diego. La Jolla, California. October 7, 2003.




                                                14


                                           EXHIBIT A
     Case 1:19-cr-00281-JPW Document 27-1 Filed 03/11/22 Page 24 of 24


“Distant Origins: The U.S. Border Patrol and the Mexican Roots of Race in the United States, 1924-
1965” presented at the XI Reunion de Historiadores Mexicanos, Estadounidenses y Canadienses.
Monterrey, Mexico. October 1-4, 2003.




                                               15


                                          EXHIBIT A
